Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 1 of 21 PageID 578




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


 UNITED STATES OF AMERICA


 v.                                                   Case No. 8:22-cr-259-WFJ-AEP


 OMALI YESHITELA
 a/k/a “Joseph Waller,”
 PENNY JOANNE HESS,
 JESSE NEVEL,
 a/k/a “Jesse Nevelsky,” and
 AUGUSTUS C. ROMAIN, JR.,
 a/k/a “Gazi Kodzo”
 _________________________________________/

                       REPORT AND RECOMMENDATION

       Before this Court is Defendant Penny Hess’s Motion to Dismiss Superseding

 Indictment (Doc. 107). Defendants Omali Yeshitela, Jesse Nevel, and Augustus C.

 Romain have adopted the instant Motion (Docs. 114, 123, 127, 136). By the Motion,

 Defendants argue the Superseding Indictment should be dismissed on First

 Amendment Free Speech grounds because the Superseding Indictment directly targets

 political speech and 18 U.S.C. § 951 is unconstitutional as applied. The United States

 contends that Section 951 targets Defendants’ conduct rather than speech and is

 constitutional as applied under an intermediate scrutiny standard. On September 28,

 2023, this Court held a hearing on the matter. Based upon the parties’ briefs and the

 overall record, the undersigned finds that Defendants’ arguments must fail at this time,

 and therefore, recommends that Defendants’ Motion be denied.
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 2 of 21 PageID 579




 I.     Factual Background Procedural History

        On April 13, 2023, Yeshitela, Hess, Nevel, and Romain (Defendants) were

 charged by Superseding Indictment with conspiring to act as agents of the Russian

 government without notification to the Attorney General, in violation of 18 U.S.C.

 §§ 371 and 951 (Doc. 12). Defendants Yeshitela, Hess, and Nevel were further charged

 with a substantive violation of Section 951 (Doc. 12, at 35). These charges arise out of

 Defendants’ alleged affiliation with the African People’s Socialist Party (APSP) (Doc.

 12).

        The Superseding Indictment (Doc. 12) alleges that Yeshitela is the founder and

 chairman of the APSP, Hess is a leader of a component of the party, and Nevel is a

 member of the party (Doc. 12, at 5–6). According to the Superseding Indictment, the

 APSP was a political group based in St. Petersburg, Florida, that promoted its views

 using multiple media outlets, including websites it operated, social media, and a radio

 station (Doc. 12, at 5). The Defendants assert that the APSP supports the rights of

 African people throughout the world to be free from colonialism (Doc. 107, at 1). They

 state that the party also advocates for “free speech and political association, a

 guarantee of the right to work for the betterment and emancipation of black people

 without fear of political imprisonment and the loss of life, limb, and livelihood” (Doc.

 107, at 2). The Defendants further contend that the APSP publishes its own

 newspaper, The Burning Spear, where it shares information and opinions on many of

 the issues the party has championed over time (Doc. 107, at 2). According to the

 Defendants, these issues largely include demand for reparations for “the centuries of



                                            2
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 3 of 21 PageID 580




 genocide, oppression, and enslavement” and opposition to “U.S. and Western

 European political, economic, and military interference in the affairs of Africa and

 African people throughout the world” (Doc. 107, at 2). The Defendants contend that

 as part of the APSP’s advocacy, the chairman and other party members regularly travel

 to participate in conferences in foreign countries, including Nicaragua, Northern

 Ireland, South Africa, Spain, England, France, Germany, Belgium, Sweden, and

 Jamaica (Doc. 107, at 3–4). Relevant to the instant Motion, Yeshitela traveled to

 Moscow twice in 2015 to attend conferences arranged by Aleksandr Viktorovich Ionov

 and his group, the Anti-Globalization Movement of Russia (AGMR), which trips were

 detailed in The Burning Spear (Doc. 107, at 4).

       The Superseding Indictment specifically alleges that Defendants conspired with

 Ionov, Yegor Sergeyevich Popov, and Aleksey Borisovich Sukhodolov, and others, to

 act as agents of the Russian Government without notification to the Attorney General

 (Doc. 12, at 9). Ionov was the founder and president of the AGMR and worked on

 behalf of several Russian Federal Security Service (FSB) officers, including Popov and

 Sukhodlov (Doc. 12, at 4–5). The Superseding Indictment contains allegations

 describing the relationship between Ionov and Defendants through the APSP in

 several ways: (1) Ionov communicated with FSB officers, developing and executing a

 plan to recruit, fund, and direct U.S. political groups, like the APSP; (2) Ionov sent

 articles containing Russian propaganda to Defendants working on behalf of the APSP

 with instructions to publish them; (3) Ionov and AGMR provided financial support

 and instructions to the APSP to promote Russian Federation interests (Doc. 12, at 10–



                                            3
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 4 of 21 PageID 581




 11). Significantly, the Superseding Indictment alleges that Defendants were aware of

 Ionov’s ties to Russian politics as demonstrated by Nevel’s email to Yeshitela, Hess,

 and other APSP members stating that AGMR is an “instrument of Russian

 government” (Doc. 12, at 17).

       The Overt Acts (OA) alleged in the Superseding Indictment assert the following

 actions Defendants took in furtherance of the conspiracy. In July 2015, Ionov directed

 Hess to draft a “petition on Genocide of African people in U.S.” (Doc. 12, OA ¶ 5).

 Hess in turn drafted the petition and posted it on a petition website and “the site of the

 White House” (Doc. 12, OA ¶ 12). Ionov donated $500.00 to the APSP shortly after

 the petition was posted (Doc. 12, OA ¶ 11). In January 2016, Hess requested that

 AGMR provide approximately $12,000 in funding for a “four-city tour” (Doc. 12, OA

 ¶ 19). Additionally in this letter, Hess thanked Ionov for his “leadership in envisioning

 such actions” (Doc. 12, OA ¶ 19). Ionov requested that the APSP draft a detailed

 report describing the four-city tour, and Hess subsequently drafted a summary of

 Yeshitela’s remarks on the tour (Doc. 12, OA ¶¶ 22–23). During this exchange, Ionov

 again sent money to the APSP in the amount of $3,476.20 (OA ¶ 24). In July 2016,

 Ionov requested that the APSP publish an article in support of the Russian Olympic

 team (Doc. 12, OA ¶ 27). Hess and Yeshitela drafted the article, and Hess published it

 on behalf of the APSP (Doc. 12, OA ¶¶ 28–30).

       It is alleged that throughout 2020 and 2021, Defendants provided information

 about their activities in the United States, specifically public demonstrations and

 protests, to Ionov (Doc. 12, OA ¶¶ 60–62). Ionov continued to financial support the



                                             4
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 5 of 21 PageID 582




 APSP during these demonstrations by contributing $1,200 to Yeshitela for a protest in

 Washington, D.C. (Doc. 12, OA ¶ 62). When Russian President Vladimir Putin

 announced that Russia had invaded Ukraine, Ionov emailed Nevel, who later

 forwarded to Yeshitela and Hess, outlining the Russian government’s message

 regarding the invasion (Doc. 12, OA ¶ 66). In response, the APSP hosted several

 virtual conferences expressing solidarity with the Russian government (Doc. 12, OA

 ¶¶ 68–71). On or about March 13, 2022, the APSP allowed Ionov to speak at one of

 these video conferences to explain the Russian invasion of Ukraine (Doc. 12, OA ¶

 70). In sum, the Overt Acts allege that Defendants’ acts of publishing, traveling,

 drafting reports, and hosting virtual conferences all at the alleged direction of a foreign

 agent in violation of 18 U.S.C. §§ 371 and 951 (Doc. 12).

 II.   Legal Standard

       Pursuant to Federal Rule of Criminal Procedure 7(c)(1), “the indictment or

 information must be a plain, concise, and definite written statement of the essential

 facts constituting the offense charged.” An indictment is sufficient if it includes “all

 elements of the offense and briefly describe[s] the facts of the commission of offense.”

 United States v. deVegter, 198 F.3d 1324, 1330 (11th Cir. 1999).

       A motion to dismiss an indictment may only be decided prior to trial if the court

 can rule on the motion “without a trial on the merits.” Fed. R. Crim. P. 12(b)(1). This

 requirement is met only if a “trial of the facts surrounding the commission of the

 alleged offense would be of no assistance in determining the validity of the [motion].”

 United States v. Covington, 395 U.S. 57, 60 (1969). In analyzing a motion to dismiss, the



                                             5
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 6 of 21 PageID 583




 court is limited to the allegations in the indictment and must read those allegations in

 the light most favorable to the government. See United States v. Torkington, 812 F.2d

 1347, 1354 (11th Cir. 1987). Under Federal Rule of Criminal Procedure 12(b), an

 indictment may be dismissed where there is an infirmity of law in the prosecution;

 however, a court may not dismiss an indictment on a determination of facts that

 should have been developed at trial. United States v. Korn, 557 F.2d 1089, 1090–91 (5th

 Cir. 1977); 1 see United States v. Cadillac Overall Supply Co., 568 F.2d 1078, 1082 (5th Cir.

 1987) (on a motion to dismiss the indictment the district court must not pierce the

 pleadings or make a premature resolution of the merits of the allegations).

 III.   Discussion

        Defendants in the instant Motion primarily argue that Section 951 is

 unconstitutional as applied because prosecuting Defendants under this statute would

 improperly infringe on their First Amendment free speech protections. Defendants

 contend that only their free speech is at issue, and there is no evidence of action or

 conduct on their part that would bring this prosecution under the authority of Section

 951. The Government counters that Defendants’ speeches, conferences, publications,

 and travel were all done under the direction or control of Ionov, a foreign agent, and

 constitute conduct or action under the meaning of Section 951. The Government

 argues that prosecution under Section 951 is constitutional as applied because


 1
   In Bonner v. City of Prichard, Ala., 661 F.2d 1206 (11th Cir. 1981) (en banc), the Eleventh
 Circuit adopted as precedent all decisions of the former Fifth Circuit decided prior to October
 1, 1981.




                                               6
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 7 of 21 PageID 584




 Defendants’ conduct surpassed merely speech in this context. This undersigned agrees

 that Defendants’ newspaper publications and attendance at conferences surpass

 merely speech when done at the direction or control of a foreign government, and thus,

 this prosecution falls under the purview of Section 951. Further, Section 951 is not

 unconstitutional as applied under an intermediate scrutiny standard. Accordingly, it is

 recommended that Defendants’ Motion be denied.

       A.       The Overt Acts in the Superseding Indictment describe the

       Defendants’ conduct, not merely speech

       Defendants first argue that this case is purely about speech, and because Section

 951 explicitly criminalizes only action, the statute cannot apply here to Defendants

 free exercise of speech (Doc. 107, at 8–11). The issue raised by Defendants’ argument

 is whether the Superseding Indictment alleges any instances of action or conduct on

 behalf of the Defendants that would bring this prosecution under the authority of

 Section 951.

       Section 951 makes it a crime for an individual other than an officially

 recognized diplomatic or consular officer to “act[] in the United States as an agent of

 a foreign government without prior notification to the Attorney General.” 18 U.S.C.

 § 951(a). The statute defines an “agent of a foreign government” as “an individual who

 agrees to operate within the United States subject to the direction or control of a foreign

 government or official.” 18 U.S.C. § 951(d). The relationship between the foreign

 government and its agent “does not need to mirror an employee’s control over the

 workings of an employee; a lesser degree of ‘direction’ is sufficient.” United States v.



                                             7
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 8 of 21 PageID 585




 Rafiekian, 991 F.3d 529, 541 (4th Cir. 2021). Section 951 “is a general intent crime,

 and knowledge of the notification requirement need not be proven by the

 Government.” United States v. Duran, 596 F.3d 1283, 1292 (11th Cir. 2010). The

 Seventh Circuit has held that a conviction under Section 951 requires only “for the

 jury to conclude that [the defendant] took acts of some kind on behalf of [foreign

 government] without first registering as a foreign agent.” United States v. Sami Koshaba

 Latchin, 554 F.3d 709, 715 (7th Cir. 2009).

        Notably, Section 951 applies “whether the action is legal or not.” United States

 v. Duran, 596 F.3d 1283, 1295 (11th Cir. 2010) (“The broad sweep of § 951 creates a

 plethora of possibilities under which those engaged in purportedly legal conduct on

 behalf of a foreign government could be convicted if an agent of a foreign government

 fails to notify the Attorney General.”). Particularly, the statute “covers any and all

 affirmative conduct taken on behalf of a foreign government, and is not limited to

 espionage or subversive activities.” Duran, 596 F.3d at 1295–96. 2

        Defendants argue that the “Overt Acts charged in the indictment all relate to

 speech,” to wit: “political speech and peaceable assembly” (Doc. 107, at 10).

 Therefore, Defendants contend that prosecution under Section 951 is improper

 without evidence of conduct or actions to satisfy the statute. However, the Supreme

 Court has recognized that “words can in some circumstances violate laws directed not


 2
  The Defendants highlight that “the APSP defendants are not charged with helping Russia
 achieve any particular action item in the United States, such as gaining extradition of a
 wanted dissident, freeing a prisoner, or obtaining relief from sanctions. Nor are they charged
 with espionage or fraud.” (Doc. 107, at 9).



                                               8
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 9 of 21 PageID 586




 at speech but against conduct.” R.A.V. v. City of St. Paul, 505 U.S. 377, 389 (1992)

 (stating that a “particular content-based subcategory of a proscribable class of speech

 can be swept up incidentally within the reach of a statute directed at conduct rather

 than speech”). Further, the Supreme Court stated that “it has never been deemed an

 abridgment of freedom of speech or press to make a course of conduct illegal merely

 because the conduct was in part initiated, evidenced, or carried out by means of

 language, either spoken, written, or printed.” Rumsfeld v. Forum for Academic and

 Institutional Rights, Inc., 547 U.S. 47, 62 (2006).

        As it relates here, Defendants’ speech alone is not necessarily “acts” within the

 gambit of Section 951, but when done at the alleged direction of a foreign government,

 such speech does rise to the level of “acts” within the meaning of Section 951. The

 Seventh Circuit in United States v. Dumeisi, 424 F.3d 566 (7th Cir. 2005), is supportive

 of this interpretation. In Dumeisi, the defendant was charged under Section 951 with

 conspiring to act as an agent of the Iraqi government without notification to the

 Attorney General for, among other things, “publishing certain news articles that would

 enable him to identify opposition members” at the direction of the Iraqi government.

 Id. at 570–71, 579. At trial, the defendant requested that the district court instruct the

 jury that “[i]t is not a violation of 18 U.S.C. § 951(a) to publish a news article.” Id. at

 579. The district court rejected that instruction, instead allowing the jury to consider

 the speech and newspaper articles “only insofar as they may pertain to issues of motive

 and intent.” Id. Dumeisi appealed to the Seventh Circuit, arguing that the district

 court’s refusal to give his requested instruction created the “very real probability that



                                              9
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 10 of 21 PageID 587




 the jury's verdict rested on the sole basis that Dumeisi printed articles in his

 newspaper.” Id.

       The Seventh Circuit rejected Dumeisi’s First Amendment challenge, holding

 that his requested instruction that publishing articles cannot violate Section 951 was

 “misleading as to the law” because “an element of § 951 is acting ‘subject to the

 direction or control of a foreign government or official,’ 18 U.S.C. § 951(d), and there

 was evidence suggesting that Dumeisi published certain articles at the behest of the

 [Iraqi government].” Id. The Seventh Circuit affirmed that the district court’s

 instruction made clear that “Dumeisi should not, and legally could not, be convicted

 simply for publishing unpopular or even despicable opinions.” Id. Taken as a whole,

 the Seventh Circuit determined that because the defendant’s articles were published at

 the direction or control of a foreign government, they are relevant to establish the

 action element required under Section 951.

       Defendants instead contend the Seventh Circuit held that “‘publishing articles

 at the direction of Iraqi intelligence’ was protected by the First Amendment” (Doc.

 131, at 7). This is a misstatement of the law in Dumeisi. The Seventh Circuit detailed

 that while the views and opinions contained the in the newspaper articles in isolation

 may be protected by the First Amendment, the act of publishing articles at the behest

 of a foreign government is relevant to the prosecution under Section 951 given that an

 element is acting “subject to the direction or control of a foreign government or

 official.” United States v. Dumeisi, 424 F.3d 566, 579 (7th Cir. 2005); 18 U.S.C. § 951(d).

 Thus, it is proper for Defendants here, as in Dumeisi, that the prosecutorial scope of



                                             10
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 11 of 21 PageID 588




 Section 951 is not “simply [] publishing unpopular or even despicable opinions,” but

 that such articles were published under the direction or control of the Russian

 government thereby constituting “acts” under the statute. Dumesisi, 424 F.3d at 579.

 To demonstrate, Defendants argue that the published opinions of Professors Jeffrey

 Sachs and John Mearsheimer, detailing nearly identical views, are not being

 questioned as to their free speech protection (Doc. 107, at 20). In that, Defendants

 seem to suggest that the Professors’ opinions are equal to the action alleged against

 Defendants here and would also fall under the prosecutorial scope as the Government

 has defined. What Defendants overlook is that the Professors’ opinions are not alleged

 to have been published at the direction of a foreign government. Defendants’ articles,

 on the other hand, are alleged to have been published at the direction of a foreign

 government, the principal fact that moves the needle into the authority of Section 951.

 This crucial difference undermines Defendants’ analogy. Thus, the Defendants’

 argument that the Superseding Indictment solely targets speech is misguided.

       Further, a review of the alleged Overt Acts in the Superseding Indictment

 demonstrates that the Defendants actions and conduct surpass merely speech within

 the meaning of Section 951. The Superseding Indictment alleges that Defendants

 recognized that the Russian government was “more than likely” using Ionov’s

 organization to “utilize forces inside of the U.S. to s[o]w division inside the U.S.” and

 acted “for the purpose of advancing the interests of the Russian Federation.” (Doc. 12,

 OA ¶¶ 18, 26(d)). Specifically, the Overt Acts allege Defendants published newspaper

 articles, gave speeches, attended conferences, and engaged in other conduct at the



                                            11
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 12 of 21 PageID 589




 direction of Ionov’s organization, which Defendants acknowledged was an

 “instrument of Russian government.” (Doc. 12, OA ¶ 17). The Overt Acts allege that

 at Ionov’s direction and through his monetary funding, Defendants published a

 petition alleging genocide against African peoples in the United States. (See Doc. 12,

 OA ¶¶5–14). It is also alleged that Defendants engaged in a four-city tour

 “envision[ed]” and funded by Ionov to promote the genocide petition. (See Doc. 12,

 OA ¶¶19–26). Ionov allegedly directed that a report be drafted detailing the four-city

 tour and Hess drafted a report entitled “Meeting to sum up the Encampment Tour,”

 which summarized remarks made concerning the four-city tour (Doc. 12, OA ¶¶ 20–

 23). According to the allegations, the Defendants published an article in support of the

 Russian Olympic team at Ionov’s direction. (See Doc. 12, OA ¶¶27–30).

       Further, the Overt Acts allege that Defendants provided information about their

 activities in the United States to Ionov, specifically public demonstrations and protests.

 (Doc. 12, OA ¶¶ 60–62). In return, it is alleged that Ionov continued to provide

 monetary funding to Defendants. (Doc. 12, OA ¶ 62). The Overt Acts allege that when

 Russian President Vladimir Putin announced that Russia had invaded Ukraine, Ionov

 emailed Defendants, outlining the Russian government’s message regarding the

 invasion. (Doc. 12, OA ¶ 66). As a result of this communication, the Overt Acts allege

 that the APSP hosted several virtual conferences expressing solidarity with the Russian

 government and allowed Ionov to speak at one of these video conferences to explain

 the Russian invasion of Ukraine. (Doc. 12, OA ¶¶ 66–71). Collectively, the Overt Acts

 alleged matters beyond pure speech, as they include the acts of publishing, traveling,



                                            12
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 13 of 21 PageID 590




 drafting reports, and hosting virtual conferences all at the alleged direction of a foreign

 agent. Thus, the Superseding Indictment alleges several instances of Defendants’

 actions that surpasses merely speech, and such acts are within the scope of Section

 951.

        Accordingly, Defendants’ argument that the Superseding Indictment must be

 dismissed because the Section 951 charges are based solely upon speech is without

 merit. Although the Defendants have identified in the Superseding Indictment

 numerous allegations related to instances of political speech, such speech when done

 at the direction of a foreign agent is properly within the scope of acts under Section

 951. Further, contrary to Defendants contentions, the Superseding Indictment alleges

 conduct beyond pure speech, which conduct if directed by a foreign agent is also

 properly within the authority of Section 951.

        B.    Section 951 is a content-neutral statute and survives intermediate

        scrutiny

        Defendants further argue that Section 951 is unconstitutional as applied because

 the Superseding Indictment directly targets Constitutionally protected political

 expression. Defendants continually urge that the Government is only prosecuting this

 matter due to the Defendants’ relationship with Russia. Defendants have structured

 their Motion to reflect absolute First Amendment protection over their political speech

 unless it incited imminent lawless action or was obscene (Doc. 107, at 11–23). This

 argument seems to mischaracterize a component of First Amendment jurisprudence.

 To that end, all speech is not intrinsically covered by the First Amendment, see Cohen



                                             13
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 14 of 21 PageID 591




 v. California, 403 U.S. 15, 19 (1971), but yet any speech that is covered by the First

 Amendment does not enjoy absolute protection and is subject to some limitations

 consistent with the nature of the speech and the Government’s interest in regulating it.

 See Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163–67 (2015) (explaining that a

 government only has the power to restrict expression if the regulation may be justified

 based on the type of speech restraint and the government’s interest in limiting it).

       To illustrate, speech that is obscene or has a tendency to incite imminent lawless

 action falls outside of First Amendment protection altogether and may be completely

 prohibited. Roth v. United States, 354 U.S. 476 (1957) (on obscenity); Chaplinsky v. New

 Hampshire, 315 U.S. 568 (1942) (on inciting imminent lawless action). On the other

 hand, speech that does fall within First Amendment protection may still be subject to

 some regulations. Fort Lauderdale Food Not Bombs v. City of Fort Lauderdale, 11 F.4th

 1266, 1291–92 (11th Cir. 2021) (detailing “expressive conduct” and “time, place, and

 manner” regulations). But these regulations must appropriately balance the nature of

 the protected speech and the strength of Government’s interest in limiting it. Id. at

 1291. This balance has evolved into varying degrees of scrutiny used to evaluate

 regulations on speech. Id. (intermediate scrutiny); Solantic, LLC v. City of Neptune Beach,

 410 F.3d 1250, 1258 (11th Cir. 2005) (strict scrutiny). A court begins its analysis of

 regulations limiting speech by categorizing the statute as content-neutral or content-

 specific. “Government regulation of speech is [content-specific] if a law applies to

 particular speech because of the topic discussed or the idea or message expressed.”

 Reed, 576 U.S. at 163. In contrast, content-neutral laws are those that do not regulate



                                             14
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 15 of 21 PageID 592




 speech based on its content, but rather they may regulate “expressive conduct,”

 meaning that they incidentally burden expression via conduct, or they may regulate

 the “time, place, and manner” of expression. Fort Lauderdale Food Not Bombs, 11 F.4th

 at 1291–92. A content-neutral statute is subject to intermediate scrutiny while a

 content-specific statute is reviewed under strict scrutiny. Reed, 576 U.S. at 163; Fort

 Lauderdale Food Not Bombs, 11 F.4th at 1291–92. Although Defendants in their Brief

 and Reply inconsistently state which standard of review is applicable here, this Court

 assumes Defendants argue that strict scrutiny is appropriate. Compare (Doc. 131, at 5)

 (“[W]hether or not Section 951 is ‘narrowly tailored to serve compelling state interests’

 is immaterial.”), with (Doc. 131, at 8) (“We do argue that this indictment must be

 dismissed because it targets protected speech without any compelling government

 interest.”).

        In plain terms, Section 951 simply requires that those who intend to act as

 agents of a foreign government first notify the Attorney General. 18 U.S.C. § 951(a).

 From the bare language of the statute, Section 951 only targets action or conduct. The

 statute does not mention speech at all, much less make note of any content. Rather,

 the focus of Section 951 is on the “defendant’s action and conduct as an agent of a

 foreign government.” United States v. Duran, 596 F.3d 1283, 1292 (11th Cir. 2010). To

 the extent that Section 951 incidentally burdens speech, it is content-neutral because it

 “serves [a] purpose unrelated to the content of expression . . . even if it has an incidental

 effect on some speakers or messages.” Ward v. Rock Against Racism, 491 U.S. 781, 791

 (1989); see United States v. Alshahhi, No. 21-CR-371 (BMC), 2022 WL 2239624, at *6



                                              15
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 16 of 21 PageID 593




 (E.D.N.Y. June 22, 2022) (quoting Expressions Hair Design v. Schneiderman, 137 S. Ct.

 1144, 1150–51 (2017) (“Section 951 regulates conduct, that is, acting as a foreign

 agent. Therefore, its ‘effect on speech would be only incidental to its primary effect on

 conduct.’”)). For those reasons, Section 951 is a content-neutral statute. 3

       Defendants in their Briefs decline to firmly label Section 951 as either content-

 neutral or content-specific but instead argue that strict scrutiny is appropriate

 regardless of Section 951’s categorization. On the one hand, Defendants emphasize

 the “government’s mis-use of the statute” would cause this Court to employ a

 heightened scrutiny in its analysis. Defendants rely heavily on DeJonge v. State of

 Oregon, 299 U.S. 353 (1937), in arguing that Section 951 as applied is a content-specific

 statute, triggering the application of strict scrutiny. Specifically, Defendants contend

 that the government here is seeking to criminalize lawful political speech based on

 Defendants’ relationship with Russia. The defendant in DeJonge was convicted of

 violating a criminal syndicalism statute. DeJonge, 299 U.S. at 356–57. The criminal

 syndicalism statute effectively criminalized speech based on its content by making it

 unlawful to assist in the conduct of a public meeting associated with the Communist

 Party. Id. at 362. The Supreme Court determined that the State was within its power

 to prohibit force and violence associated with political advocacy but a complete

 prohibition encompassing otherwise lawful association and expression of political

 thought was improper. Id. at 363. Defendants in the instant Motion equate the criminal


 3
  The United States District Court for the Eastern District of New York also determined that
 Section 951 is content-neutral.



                                             16
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 17 of 21 PageID 594




 syndicalism statute in DeJonge with Section 951 in an attempt to label it as a content-

 specific statute. However, the statute in DeJonge explicitly prohibited assembly

 designed to foster political change, thus clearly targeting speech and its content. In

 contrast, Section 951 neither targets speech of any kind, nor does it prohibit any

 conduct or incidental speech. Therefore, DeJonge may be distinguished from the case

 at bar because there the Supreme Court tackled a content-specific statute whereas

 Defendants here are facing prosecution of a content-neutral statute.

        Alternatively, Defendants argue that the improper use of a content-neutral

 statute may still be subject to strict scrutiny under the Supreme Court’s decision in

 Cohen v. California, 403 U.S. 15, 16 (1971). 4 In Cohen, the defendant was convicted

 under a breach of the peace statute for wearing a jacket displaying an offensive word

 to protest the Vietnam War and the draft. Id. at 16. The California statute prohibited

 maliciously and willfully disturbing the peace or quiet of any neighborhood or person

 by person. Id. Although the breach of peace statute was facially content-neutral and

 solely directed at conduct, the Court recognized that “[t]he conviction quite clearly

 rest[ed] upon the asserted offensiveness of the words,” and “not upon any separately

 identifiable conduct.” Id. at 18. By targeting the content of Cohen’s speech then, the

 statute as applied was reviewed under a strict scrutiny standard. Thus, the State was


 4
  More recently, the Supreme Court has affirmed this concept in Reed v. Town of Gilbert, Ariz.,
 576 U.S. 155, 164 (2015). There, the Court stated that “[o]ur precedents have also recognized
 a separate and additional category of laws that, though facially content neutral, will be
 considered content-based regulations of speech: laws that cannot be justified without
 reference to the content of the regulated speech, or that were adopted by the government
 because of disagreement with the message the speech conveys.”



                                              17
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 18 of 21 PageID 595




 required to show a “compelling reason” to prevent Cohen from delivering his message

 because the Court determined his conviction was directed at the content of Cohen’s

 speech. Id. at 18–19.

        Defendants’ case again is distinguishable. Unlike Cohen, the prosecution against

 Defendants is based upon conduct rather than merely speech, as determined above in

 Part A. Defendants’ speeches and publications alone are not necessarily “acts,” but

 when done at the direction of a foreign government, such speeches and publications

 rise to the level of “acts” within the meaning of Section 951. See United States v. Dumeisi,

 424 F.3d 566, 579 (7th Cir. 2005). Because the allegations in the Superseding

 Indictment do not “quite clearly rest upon the asserted offensiveness of the words,”

 but rather detail “separately identifiable conduct,” the reasoning in Cohen does not

 support Defendants’ position. Cohen, 403 U.S. at 18.

        Once more, as Defendants underscore that the Government is only prosecuting

 here because of their criticism on U.S. policy, they even speculate that this prosecution

 would not have been brought if Defendants were promoting Russian literature or

 cuisine (Doc. 131, at 3). But this extraneous comment—which more likely challenges

 prosecutorial discretion, an issue which this Court will not address—in fact touches

 the heart of Section 951: content is irrelevant. The content of the directed conduct or

 action is simply immaterial for the purposes of prosecution under Section 951. See

 Duran, 596 F.3d at 1295 n.8. The Eleventh Circuit affirmed this in Duran when noting

 that the district court properly excluded evidence regarding relations between the

 United States and the foreign government at issue because that information was



                                             18
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 19 of 21 PageID 596




 irrelevant and inapplicable to the elements of Section 951. Id. So if Defendants were

 to publish articles about Russian literature and cuisine at the direction or control of the

 Russian government, then such conduct would indeed fall within the prosecutorial

 scope of Section 951. Accordingly, Defendants’ argument that Section 951 is content-

 specific because the indictment “attempts to criminalize speeches in which defendants

 criticize” U.S. policy is unwarranted.

       A content-neutral statute is subject to review under intermediate scrutiny. Fort

 Lauderdale Food Not Bombs, 11 F.4th at 1291. To survive intermediate scrutiny, the

 statute must be “narrowly drawn to further a substantial government interest” that is

 “unrelated to the suppression of free speech.” Id. In other words, this Court must find

 that Section 951 “advances important government interests” and does not “burden

 substantially more speech than necessary to further those interests.” Turner

 Broadcasting Sys., Inc. v. FCC, 520 U.S. 180, 189 (1997) (citing United States v. O'Brien,

 391 U.S. 367, 377 (1968)). First, it is clear that Section 951 furthers substantial

 government interests that are unrelated to the suppression of free speech. The Eleventh

 Circuit in analyzing Section 951 has recognized that “the Government has an interest

 in knowing the identity of those acting on behalf of a foreign government within the

 United States.” Duran, 596 F.3d at 1295; see also Rafiekian, 991 F.3d at 538 (recognizing

 that Section 951 serves the United States’ “strong interest in identifying people acting

 at the behest of foreign governments within its borders”).

       Second, Section 951 is narrowly drawn because its notification requirement is

 “not substantially broader than necessary to achieve the government’s interest.” Fort



                                             19
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 20 of 21 PageID 597




 Lauderdale Food Not Bombs, 11 F.4th at 1295. Section 951 does “sweep[] broadly” to

 the extent that it includes “any and all affirmative conduct taken on behalf of a foreign

 government.” Duran, 596 F.3d at 1295–96. Notably, however, Section 951 does not

 prohibit such conduct at the direction of a foreign government. The statute merely

 requires that, if an individual wishes to act on behalf of a foreign government within

 the United States, he or she must notify the Attorney General prior to undertaking the

 action. Likewise, any incidental burden on speech accompanying such conduct is

 similarly not prohibited. Section 951 is sufficiently narrowly drawn to survive

 intermediate scrutiny. See also United States v. Alshahhi, No. 21-CR-371 (BMC), 2022

 WL 2239624, at *6 (E.D.N.Y. June 22, 2022) (finding that Section 951 “easily survives

 intermediate scrutiny). 5

 IV.    Conclusion

        Defendants assert that Section 951 is unconstitutional as applied because the

 Superseding Indictment directly targets political speech, and it should be dismissed on

 First Amendment Free Speech grounds. Moreover, Defendants continually stress that

 the United States is pursuing this prosecution purely because of Defendants’


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   Even still, if this Court were to agree with Defendants that Section 951 is a content-specific
 statute as applied, it survives strict scrutiny as well. To satisfy the strict scrutiny standard, a
 statute must be “narrowly tailored to serve compelling state interests.” Reed v. Town of Gilbert,
 Ariz., 576 U.S. 155, 163 (2015) (citing R.A.V. v. St. Paul, 505 U.S. 377, 395 (1992)). Again, the
 scope of Section 951 advances the Government’s “interest in knowing the identity of those
 acting on behalf of a foreign government within the United States.” Duran, 596 F.3d at 1295.
 Section 951 is narrowly tailored so that the only burden on it imposes is notification to the
 Attorney General. In fact, Section 951’s notification requirement is so narrowly tailored that
 there is effectively no prohibition on conduct at all, and even less so on any speech that may
 be secondarily impacted.



                                                 20
Case 8:22-cr-00259-WFJ-AEP Document 157 Filed 01/26/24 Page 21 of 21 PageID 598




 relationship with the Russian government. The United States contends that Section

 951 targets Defendants’ conduct and actions, not speech, and is constitutional as

 applied under an intermediate scrutiny standard. This Court agrees that Defendants’

 conduct rather than mere speech is present within the meaning of Section 951 because

 the Overt Acts allege that the speeches, publications, traveling, and hosting virtual

 conferences were done at the direction of the Russian Government. Thus, prosecution

 under Section 951 is appropriate since conduct is at issue. Further, in analyzing

 Section 951, the undersigned is satisfied that intermediate scrutiny is proper because

 the statute is content-neutral and finds that Section 951 is not unconstitutional as

 applied to Defendants under the intermediate scrutiny standard.

       Accordingly, it is RECOMMENDED that Defendants’ Motion to Dismiss

 Superseding Indictment on Constitutional Free Speech Grounds (Doc. 107) be

 DENIED.

       IT IS SO REPORTED at Tampa, Florida, this 26th day of January 2024.




                                          21
